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DECLARATION OF DUDLEY S. DANOFF, M.D., F.A.C.S.

Renal Cell Carcinomas in Residents of
The Acreage Community, Palm Beach County Florida

REF: CASE 10-80840-CIV-RYSKAMP/VITUNAC
Joseph Adinolfe, et al. v. United Technologies Corporation
d.b.a. PRATT & WHITNEY

REF: CASE 10-80883-CIV-RYSKAMP/VITUNAC

Magaly Pinares and Marcos Pinares v. United Technologies Corporation
d.b.a. PRATT & WHITNEY

EXHIBIT
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DECLARATION OF DUDLEY S. DANOFF, M.D., F.A.C.S,

Renal Cell Carcinomas in Residents of
The Acreage Community, Palm Beach County Florida

Pursuant to 28 U.S.C. § 1746, ], Dudley Seth Danoff, declare as follows:

INTRODUCTION

T attended Yale University School of Medicine where I specialized in the study and treatment of
urinary system disorders. I am currently a practicing Urologic Surgeon at Cedars-Siani Medical
Center, an Attending Urologic Surgeon for the Department of Surgery Urology, UCLA, an
Attending Physician in Surgical Services for the U.S. Veterans Administration in Los Angeles, a
Fellow with the American College of Surgeons, and a Diplomate with the American Board of
Urology. I have also served as Urology Surgeon-In-Chief for the King of Thailand. I have
practiced in the field of urology for over 40 years. In my work | have seen and treated many
individuals suffering from kidney cancer and other types of cancer.

I have reviewed the pathology reports on Mrs. Magaly Pinares [1] and Mr. Paul Read [2] who
each contracted kidney cancer while living in the same Palm Beach County, Florida, community
known as The Acreage. Mr. Read is now deceased as a consequence of his illness. Mrs. Pinares
is surviving but has had her left kidney surgically removed in treatment of her illness.

This report presents my findings and medical opinions concerning these cases of cancer. It also
presents the basis for my conclusion that the kidney cancers of Mrs. Pinares and Mr. Read were
caused by exposure to carcinogenic chemicals known to be present in the well water that they
both consumed and were exposed to through other means in their community.

RENAL CELL CARCINOMAS

 

Kidney cancer is an uncommon condition. According to the American Cancer Society, only 2-
3% of all cancers diagnosed in the United States are kidney cancers. For instance, well over one
million cancers were diagnosed nationwide in 2005, but of these only around 36,000 were kidney
cancers [3]. Renal cell carcinoma is one type of kidney cancer and is the most frequently
diagnosed type. However, this type makes up only a subset of the overall kidney cancers. In
other words, while kidney cancer is uncommon, the group comprising renal cell carcinomas is
somewhat less common. Clear cell is a particular variety or morphology of renal cell carcinoma.
Only about 65% of renal cell carcinomas are found to have clear cell morphology [4], meaning
that of the subset of kidney cancer patients who are found to have renal cell carcinoma, only
about two-thirds of those individuals will also be found to have the clear cell variety.
Unfortunately, renal cell carcinomas tend to be resistant to chemotherapy and radiotherapy, and
there is a low survival rate for later stage cases.
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Magaly Pinares and Paul Read were both diagnosed with tumors in their left kidneys, and these
organs were then surgically removed and analyzed. The pathology reports on the kidneys of
Mrs. Pinares [1] and Mr. Read [2] revealed that both were afflicted by renal cell carcinoma with
clear cell morphology.

CAUSATION

The occurrence of two very similar cases of renal cell carcinoma in two unrelated people living
in the same community is suggestive of a shared environmental exposure to a carcinogen active
in the human kidney. This variety of cancer is uncommon to begin with, and it is improbable
that two unrelated individuals who lived in the same community would both develop this same
expression of cancer purely at random and from unrelated causes. The most plausible
explanation is that Mrs. Pinares and Mr. Read were both exposed to the same carcinogen or
carcinogens present in their common environment, 1.¢., in The Acreage where they both lived.

The conclusion of causation by environmental exposure is supported by detection of
trihalomethanes (THMs) in the groundwater that Mrs. Pinares and Mr. Read both used for
drinking, bathing, washing, cooking and other purposes that would have caused them long-term
chemical exposure. THMs are a group of organic chemicals that include chloroform and
bromodichloromethane (BDCM).

The State of Florida classifies BDCM as a human carcinogen and describes its “Target Organs /
Systems or Effects” as “Carcinogen - Kidney” [5]. A U.S. National Toxicology Program study
also found clear evidence that BDCM exhibited carcinogenic activity in laboratory mice and rats,
including increased incidences of renal carcinomas in kidneys [6]. BDCM is a genotoxic
carcinogen [7], meaning it damages genetic material (DNA) in ways that cause cells to become
cancerous. Consequently, long-term exposure to even very small concentrations of genotoxic
carcinogens such as BDCM can cause cancer. At the same time, THMs such as BDCM and
chloroform are known to be cytotoxic and can also contribute to cancer formation via non-
genotoxic pathways.

The State of Florida classifies chloroform as a human carcinogen and systemic toxicant and
describes its Target Organs / Systems or Effect as “Carcinogen - Liver” [5]. It should be kept in
mind, however, that THMs can also cause tumors in organs other than those determined to be
target organs. For example, a study conducted on a community in northern Italy where residents
were supplied tap water containing THMs, notably chloroform, revealed elevated human
mortality from a variety of cancers, including cancers of the urinary system, stomach, lung, and
skin [8]. Various studies on laboratory animals have also found that ingestion of chloroform
increases the incidence of renal tumors. See, e.g., [9, 10].

Furthermore, THMs can exhibit additive or enhancement effects that increase the risk of cancer
in the presence of other chemicals. For instance, one study found that chloroform added to
drinking water “greatly increased” the incidence of kidney tumors in male laboratory mice when
dichloroacetic acid was also present in the water [11].
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I was provided with results of tests conducted on groundwater samples taken directly from the
water wells used by Mrs. Pinares [12] and Mr. Read [13]. These tests confirmed the presence of
THMs. The water in Mrs. Pinares’ well was found to have BDCM present at a concentration of
0.84 micrograms per liter (ug/L) and chloroform present at 4.3 ug/L. The water in Mr. Read’s
well was found to have chloroform also at the level of 4.3 ug/L. As these water samples were
taken directly from the wellheads, these THM contaminants were in their well water before it
was pumped from the ground,

Long-term exposure to these levels of the detected THM carcinogens is capable of causing renal
cell carcinoma that afflicted Mrs. Pinares and Mr. Read. No other plausible mechanism for
causation has been identified. It is my opinion and conclusion that exposure to the THM-
contaminated groundwater was the most probable cause of their renal cell carcinomas.

Although I am not qualified to conclusively determine the origin of the THM carcinogens
present in their groundwater, I have been provided with results from testing done in the 1980s on
contaminated groundwater in the near-surface aquifer underlying a Pratt & Whitney industrial
(P&W) facility located a few miles to the north and northwest of The Acreage community.
Those test revealed what I consider to be staggeringly high levels of THMs in the groundwater at
the P&W site, including 2,002 milligram/liter (mg/L) of BDCM and 1,160 mg/L of chloroform
[14]. These concentrations are in milligrams per liter, not micrograms per liter. To put these
values in perspective, the reported concentration of BDCM found in the P& W well was more
than 3 million times higher than the current “Groundwater Cleanup Target Level” standard of 0.6
micrograms per liter for this chemical in Florida groundwaters [5]. (The BDCM found in Mrs.
Pinares well water is also above this standard.) I understand that employees of this same P&W
facility also experienced abnormally high levels of cancer around the time this groundwater
contamination was identified [15]. I infer this was because the P& W facility was obtaining its
drinking water from this same aquifer which its activities had contaminated with chloroform,
BDCM and other other carcinogens. The THMs in the groundwater appear to have originated
from solvents and other chemicals that were dumped, leaked or spilled at the P&W site. This
shallow aquifer is the very same one from which residents of The Acreage community, including
Mr. Pinares and Mr. Read, historically obtained their well water for drinking, washing and other
domestic uses. As no other plausible explanation has been identified, ] am led to conclude the
P&W facility is the source of the THM carcinogens in the groundwater underlying this
community and which caused the renal cell carcinomas that have afflicted Mrs. Pinares and Mr.
Read.

News reports indicate other residents of The Acreage community have suffered abnormally high
incidences of tumor development, including numerous brain tumors in children [16]. This is also
indicative, in my estimation, of a common environmental exposure to carcinogens. These cases
may also be traceable to THM exposure associated with groundwater contamination in the
aquifer used by this community. However, I have not reviewed the medical records of these
other individuals, and as a urology specialist I have limited my investigation to cancers of the
urinary system, which includes the kidneys.

CONCLUSION
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After reviewing the relevant records, it is my professional opinion, based on a reasonable degree
of medical probability and certainty, that the renal cell carcinomas that afflicted Magaly Pinares
and Paul Read were both caused by long-term exposure to the THM carcinogens which are
known to cause renal tumors and which are known to be present in their well water.

Because long-term exposure to THM carcinogens can cause irreversible genetic damage, I

expect the cancer rate (including kidney cancer) in The Acreage community to increase in the
coming years as more residents there begin manifesting cancers from the genetic damage that has
already occurred due to past exposures to this contaminated groundwater. This will be the case
even if all residents completely stopped using the contaminated groundwater or even if the
groundwater were completely cleansed (remediated) to remove all of the carcinogens that are
currently present there. Some genetic damage has already been done; it just has not yet revealed
itself to all of the people who will develop cancer from past exposure to these chemicals.

Pursuant to 28 U.S.C. § 1746 IJ declare under penalty of perjury that the foregoing opinions and
statements are true and correct.

MS. Of pe

Dudley Seth Danoff, M.D., F.A. oyf/

Dated: April [S011

STATE OF CALIFORNIA
COUNTY OF _ 499 ANGELE >

Sworn to and subscribed before me this /9- day of April, 2011, by Dudley Seth Danoff, M.D.
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ROBERT A. MORAIS
Commission # 1816357
Notary Public - California 2

Los Angeles County =

My Comm. Expires Oct 24, 2012

 
      
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Notary Seal:

Personally Known ___ or Produced Identification _Y (Type of Identification C PL )

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